
*393OPINION.
Smith:
The only question presented by these appeals is whether the petitioners are liable to income tax in 1919 in respect of amounts transferred from the private ledgers of Finsilver, Still &amp; Moss, Inc., in 1919 and placed to the accounts of the petitioners upon the general ledger. The evidence shows conclusively that these amounts represented earnings of a predecessor corporation between the years 1912 and 1916, inclusive. They were subject to their withdrawal at any time after January 1, 1917, and they received interest upon the un-drawn amounts. There is no claim made by the respondent that the petitioners- received in the year 1921 the amounts transferred to them from the private ledger to the general ledger. The evidence is conclusive that the amounts were not paid to them until subsequent years. The record does not show whether the petitioners accounted for the moneys placed to their credit upon the books of the predecessor corporation on January 1, or January 2, 1917, in their income-tax returns for 1917. They contend that the amounts did not constitute income in the year 1919 and the evidence conclusively shows that the most that occurred in that year was a transfer of the amounts in question from the private ledger to the general ledger. They received no portion thereof in 1919. The amounts were not first placed to the credit of the petitioners in 1919. We have no evidence as to the basis upon which the petitioners kept their books and reported their income. But whatever method was employed in keeping their books these amounts were not income in 1919.
Judgment will he entered for the petitioners on 15 days’ notice, under Bule 50.
Considered by Littleton and Love.
